                                            Case 5:17-cv-00220-LHK Document 979 Filed 12/11/18 Page 1 of 9




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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                              SAN JOSE DIVISION
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                                  12        FEDERAL TRADE COMMISSION, et al.,                Case No. 17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                    Plaintiff,                           ORDER GRANTING QUALCOMM’S
                                                                                             MOTION TO STRIKE PARAGRAPHS
                                  14              v.                                         72–86 OF AKL REBUTTAL EXPERT
                                                                                             REPORT
                                  15        QUALCOMM INCORPORATED, et al.,
                                                                                             Re: Dkt. No. 797
                                  16                    Defendant.

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                                  18           Before the Court is Defendant Qualcomm Incorporated’s (“Qualcomm”) motion to strike

                                  19   portions of the rebuttal expert report of Plaintiff Federal Trade Commission’s (“FTC”) expert Dr.

                                  20   Robert Akl. ECF No. 797 (“Mot.”). The FTC has filed an opposition, ECF No. 866 (“Opp.”), and

                                  21   Qualcomm has filed a reply. ECF No. 894 (“Reply”). Having considered the parties’ briefs, the

                                  22   relevant law, and the record in this case, the Court GRANTS Qualcomm’s motion to strike

                                  23   paragraphs 72–86 of Dr. Akl’s rebuttal expert report.

                                  24   I.      LEGAL STANDARD
                                  25           “Rebuttal disclosures of expert testimony are ‘intended solely to contradict or rebut

                                  26   evidence on the same subject matter identified by another party’ in its expert disclosures.” In re

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                                  28   Case No. 17-CV-00220-LHK
                                       ORDER GRANTING QUALCOMM’S MOTION TO STRIKE PARAGRAPHS 72–86 OF AKL REBUTTAL
                                       EXPERT REPORT
                                             Case 5:17-cv-00220-LHK Document 979 Filed 12/11/18 Page 2 of 9




                                   1   High-Tech Emp. Antitrust Litig., 2014 WL 1351040, at *3 (N.D. Cal. Apr. 4, 2014) (quoting Fed.

                                   2   R. Civ. P. 26(a)(2)(D)(ii)). A rebuttal expert report may respond to “new unforeseen facts brought

                                   3   out in the other side’s case.” Matthew Enter., Inc. v. Chrysler Grp. LLC, 2016 WL 4272430, at *3

                                   4   (N.D. Cal. Aug. 15, 2016) (citing Columbia Grain, Inc. v. Hinrichs Trading, LLC, 2015 WL

                                   5   6675538, at *2 (D. Idaho Oct. 30, 2015)). However, “[r]ebuttal testimony cannot be used to

                                   6   advance new arguments or new evidence.” Id. at *2 (internal quotation marks omitted). A party’s

                                   7   rebuttal expert report “is not the time to change methodologies to account for noted deficiencies;

                                   8   instead, it is to respond to criticisms of such methodologies.” Id. (internal quotation marks

                                   9   omitted). Of course, “offering a different, purportedly better methodology is a proper way to rebut

                                  10   the methodology of someone else.” TCL Commc’ns Tech. Holdings Ltd. v. Telefonaktenbologet

                                  11   LM Ericsson, 2016 WL 7042085, at *4 (C.D. Cal. Aug. 17, 2016). Ultimately, “[r]ebuttal

                                  12   testimony is proper as long as it addresses the same subject matter that the initial experts address.”
Northern District of California
 United States District Court




                                  13   Perez v. State Farm Mut. Auto Ins. Co., 2011 WL 8601203, at *8 (N.D. Cal. Dec. 7, 2011); see

                                  14   also Marmo v. Tyson Fresh Meats, Inc., 457 F.3d 748, 759 (8th Cir. 2006) (“The function of

                                  15   rebuttal testimony is to explain, repel, counteract or disprove evidence of the adverse party.”)

                                  16   (internal quotation marks omitted). Courts “have permitted additional data to be used in a rebuttal

                                  17   report so long as it is of the same subject matter.” Kirola v. City & Cty. of S.F., 2010 WL 373817,

                                  18   at *2 (N.D. Cal. Jan. 29, 2010).

                                  19            “Rule 37(c)(1) gives teeth to these requirements by forbidding the use at trial of any

                                  20   information required to be disclosed by Rule 26(a) that is not properly disclosed.” Yeti by Molly,

                                  21   Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001). The moving party bears the

                                  22   burden of showing a discovery violation has occurred. See Hernandez ex rel. Telles–Hernandez v.

                                  23   Sutter Med. Ctr. of Santa Rosa, 2008 WL 2156987, at *13 (N.D. Cal. May 20, 2008). Once that

                                  24   burden is satisfied, the burden shifts and the nonmoving party must prove that its failure to comply

                                  25   with Rule 26 was either justified or harmless. Yeti by Molly, 259 F.3d at 1107.

                                  26   II.      DISCUSSION
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                                  28   Case No. 17-CV-00220-LHK
                                       ORDER GRANTING QUALCOMM’S MOTION TO STRIKE PARAGRAPHS 72–86 OF AKL REBUTTAL
                                       EXPERT REPORT
                                          Case 5:17-cv-00220-LHK Document 979 Filed 12/11/18 Page 3 of 9




                                   1          Qualcomm moves to strike Paragraphs 72-86 from the Akl Rebuttal Report under Rule

                                   2   26(a). Specifically, Qualcomm contends that Paragraphs 72–86 discuss the relative importance of

                                   3   third-party companies’ standard essential patents (“SEPs”) in technology areas not discussed in

                                   4   the Qualcomm expert report Dr. Akl purports to rebut. The FTC contends that Paragraphs 72–86

                                   5   are proper rebuttal evidence because they “contextualize” the Qualcomm expert’s analysis.

                                   6          Below, the Court first describes the progression of expert reports leading to the Akl

                                   7   Rebuttal Report, in order to provide context for the challenged Paragraphs. Then, the Court

                                   8   explains why Paragraphs 72–86 do not “contradict or rebut evidence on the same subject matter

                                   9   identified by another party,” Fed. R. Civ. P. 26(a)(2)(D)(ii), and must be stricken.

                                  10      A. Akl Opening Expert Report
                                  11          The FTC retained Dr. Akl as an expert to “assist in an evaluation of the reasonableness and

                                  12   proportionality of the royalties charged by Qualcomm for its cellular standard essential patents.”
Northern District of California
 United States District Court




                                  13   ECF No. 797-4 (“Akl Opening Report”), ¶ 1. Dr. Akl is “an expert in the field of

                                  14   telecommunications systems” and an Associate Professor and Associate Chair of Graduate Studies

                                  15   in the computer science and engineering department at the University of North Texas. Id. ¶¶ 2, 7.

                                  16   Dr. Akl produced his opening expert report on May 24, 2018. Id. As relevant here, the FTC

                                  17   asked Dr. Akl “to compile a ‘census,’ based upon recent data from a variety of sources, of the

                                  18   numbers and types of cellular SEPs declared as essential to various cellular standards by different

                                  19   entities.” Id. ¶ 1. Dr. Akl’s report also includes “background on cellular standards, standard

                                  20   setting organizations and mobile devices.” Id. ¶ 15.

                                  21          Dr. Akl’s report explains that the “census database is intended to be used as a reliable

                                  22   indicator of the numbers of SEPs declared essential to the relevant standards by various parties.”

                                  23   Id. ¶ 46 (emphasis added). Dr. Akl compiled his census from SEP databases compiled by various

                                  24   standard setting organizations (“SSOs”). See id. ¶¶ 47–68. Based on the census, the Akl Opening

                                  25   Report includes charts identifying, for a given cellular standard, the top ten holders of SEPs

                                  26   essential to that standard. See, e.g., id. ¶ 71 (chart with top ten holders of SEPs declared essential

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                                  28   Case No. 17-CV-00220-LHK
                                       ORDER GRANTING QUALCOMM’S MOTION TO STRIKE PARAGRAPHS 72–86 OF AKL REBUTTAL
                                       EXPERT REPORT
                                          Case 5:17-cv-00220-LHK Document 979 Filed 12/11/18 Page 4 of 9




                                   1   to the UMTS standard). Dr. Akl concludes that the census “allows for the calculation of statistics

                                   2   regarding the percentage of SEPs declared by various entities with respect to certain cellular

                                   3   standards.” Id. ¶ 74. Nowhere in the report does Dr. Akl provide any qualitative analysis of the

                                   4   relative value of SEPs identified in his census. Indeed, the FTC states that Dr. Akl’s opening

                                   5   report includes only “an overview of cellular technology” and Dr. Akl’s census of “the number of

                                   6   cellular patents declared standard-essential to cellular standards by various companies.” Opp. at 2

                                   7   (emphasis added).

                                   8      B. Andrews Expert Report
                                   9          Dr. Jeffrey Andrews is a professor in the electrical and computer engineering department at

                                  10   the University of Texas at Austin. ECF No. 797-5 (“Andrews Report”), ¶ 1. Qualcomm served

                                  11   Dr. Andrews’ expert report (“Andrews Report”) on June 28, 2018. Id. at Cover. Qualcomm

                                  12   retained Dr. Andrews to “opine on . . . the importance of certain technologies to mobile devices
Northern District of California
 United States District Court




                                  13   and the mobile ecosystem,” and the role of Qualcomm’s SEPs in those areas. Id. ¶ 2.

                                  14   Specifically, the Andrews Report discusses “the importance of the UMTS, LTE, and 5G NR

                                  15   standard-defined waveform and air interface, carrier aggregation, heterogeneous networks

                                  16   (“HetNet”), and unlicensed spectrum features, as well as on the role of certain of Qualcomm’s

                                  17   SEP’s in implementing those features.” Id. ¶ 3. Dr. Andrews opines that the patents he discusses

                                  18   “demonstrate that Qualcomm possess a wide-ranging portfolio in a broad range of subject areas”

                                  19   and that Qualcomm’s patents “provide substantial value to the consumer.” Id. ¶ 7. Dr. Andrews

                                  20   also opines that “Qualcomm’s portfolio has continued to grow and expand over time.” Id. ¶ 8.

                                  21          In his deposition, Dr. Andrews testified that he was “not offering an opinion . . . as to the

                                  22   value of Qualcomm’s patents relative to patents held by others” and “not offering an opinion as to

                                  23   a reasonable royalty for Qualcomm’s patent portfolio as a whole.” ECF No. 797-7 at 34:8–13,

                                  24   36:1–6. Dr. Andrews further testified that he was “not offering opinions on patents that aren’t in

                                  25   my report.” ECF No. 866-2, Ex. 3 at 74:21–23.

                                  26      C. Akl Rebuttal Report
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                                  28   Case No. 17-CV-00220-LHK
                                       ORDER GRANTING QUALCOMM’S MOTION TO STRIKE PARAGRAPHS 72–86 OF AKL REBUTTAL
                                       EXPERT REPORT
                                          Case 5:17-cv-00220-LHK Document 979 Filed 12/11/18 Page 5 of 9




                                   1          Dr. Akl completed the Akl Rebuttal Report on July 26, 2018. ECF No. 797-2. The Akl

                                   2   Rebuttal Report states that it responds to the Andrews Report. Id. ¶ 1. The Akl Rebuttal Report

                                   3   opines that Dr. Andrews “understates the involvement of companies other than Qualcomm in the

                                   4   formulation of various cellular telecommunication standards” and that Dr. Andrews “has not

                                   5   identified all of the fundamental or important aspects of the standards.” Id. ¶ 4. Dr. Akl also

                                   6   opines that “[i]mplicit in [the Andrews Report] is an argument that Qualcomm’s patent portfolio is

                                   7   superior to the portfolios held by other companies.” Id. ¶ 5. Thus, the Akl Rebuttal Report

                                   8   provides examples of patents held by other companies that Dr. Akl “conclude[s] are of similar

                                   9   importance to the Qualcomm patents identified by Dr. Andrews.” Id. Dr. Akl first discusses other

                                  10   companies that contributed to the standards and technology areas addressed in the Andrews

                                  11   Report. See id. ¶ 13 (asserting that Dr. Andrews “downplay[s] the contributions of companies

                                  12   other than Qualcomm to the development of these technologies and standards”); see generally id.
Northern District of California
 United States District Court




                                  13   ¶¶ 32–71 (addressing specific third-party patents in “technology areas discussed by Dr.

                                  14   Andrews”).

                                  15          As relevant here, the Akl Rebuttal Report also discusses “certain example technology areas

                                  16   and patents that, in [Dr. Akl’s] view, are of comparable importance to those discussed by Dr.

                                  17   Andrews,” and are owned by companies other than Qualcomm. Id. ¶ 72. Those technology areas

                                  18   are Discontinuous Reception, id. ¶¶ 73–77, Semi-persistent Scheduling, id. ¶¶ 78–80, Handover,

                                  19   id. ¶¶ 81–83, and Circuit-switched Fallback, id. ¶¶ 84–86. Based on the evidence in the Akl

                                  20   Rebuttal Report, Dr. Akl opines that “patents within Qualcomm’s portfolio identified by Dr.

                                  21   Andrews as ‘important’ or ‘fundamental’ to the UMTS and LTE standards are matched by patents

                                  22   of comparable importance within the portfolios of at least these other companies.” Id. ¶ 87.

                                  23      D. Analysis
                                  24          Qualcomm’s motion presents a straightforward question: whether Paragraphs 72–86 of the

                                  25   Akl Rebuttal Report address the “same subject matter” as the Andrews Report. Fed. R. Civ. P.

                                  26   26(a)(2)(D)(ii). In the Andrews Report, Dr. Andrews discusses how Qualcomm’s SEPs

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                                  28   Case No. 17-CV-00220-LHK
                                       ORDER GRANTING QUALCOMM’S MOTION TO STRIKE PARAGRAPHS 72–86 OF AKL REBUTTAL
                                       EXPERT REPORT
                                          Case 5:17-cv-00220-LHK Document 979 Filed 12/11/18 Page 6 of 9




                                   1   “encompass[] fundamental and innovative aspects” of technology important to certain cellular

                                   2   standards. Andrews Report ¶ 297. Qualcomm contends that the Andrews Report “illustrate[s] the

                                   3   flaws in the FTC’s experts’ reliance on simple patent counting as a basis for valuing Qualcomm’s

                                   4   portfolio.” Reply at 1. Qualcomm does not move to strike those portions of the Akl Rebuttal

                                   5   Report addressing third-party SEPs in the technology areas that Dr. Andrews discusses. Id. at 4.

                                   6          Here, Paragraphs 72–86 of the Akl Rebuttal Report do not discuss the technology areas

                                   7   addressed in the Andrews Report or discuss Qualcomm’s SEPs. Instead, Paragraphs 72–86

                                   8   include Dr. Akl’s opinions on third-party SEPs in “other portions of the standards that are . . . of

                                   9   equal importance to those identified by Dr. Andrews.” Akl Rebuttal Report ¶ 72. Notably,

                                  10   Paragraphs 72–86 do not attempt to contradict the Andrews Report’s opinion that Qualcomm has

                                  11   important or fundamental patents in specific technology areas. Instead, the Paragraphs make a

                                  12   different point altogether: third-party companies have important patents in other technology areas.
Northern District of California
 United States District Court




                                  13   For that reason, Paragraphs 72–86 are not “intended solely to contradict or rebut evidence on the

                                  14   same subject matter” as the Andrews Report. Fed. R. Civ. P. 26(a)(2)(D)(ii).

                                  15          The Akl Rebuttal Report sets forth its own purpose in such terms. For example, Dr. Akl

                                  16   states that his report discusses third-party patents “in standardized technology areas not addressed

                                  17   by Dr. Andrews” and responds to the argument, “[i]mplicit in Dr. Andrews’s report,” that

                                  18   Qualcomm’s patents are superior to those of third parties. Akl Rebuttal Report ¶ 5 (emphases

                                  19   added). Neither Dr. Akl in the Akl Rebuttal Report nor the FTC in its opposition brief identifies a

                                  20   section of the Andrews Report where Dr. Andrews opines that the technology areas he discusses

                                  21   are the only technology areas of importance. See id. ¶ 72 (stating only that “Dr. Andrews’s report

                                  22   discusses a number of technology areas that he says are important to cellular standards”). Nor

                                  23   does the FTC identify any authority for the proposition that a rebuttal expert report may respond to

                                  24   an implied argument. The FTC’s other arguments are also not convincing.

                                  25          First, the FTC contends that the subject matter of the Andrews Report is “cellular

                                  26   technology declared essential to a relevant standard,” and that Paragraphs 72–86 are within that

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                                  28   Case No. 17-CV-00220-LHK
                                       ORDER GRANTING QUALCOMM’S MOTION TO STRIKE PARAGRAPHS 72–86 OF AKL REBUTTAL
                                       EXPERT REPORT
                                          Case 5:17-cv-00220-LHK Document 979 Filed 12/11/18 Page 7 of 9




                                   1   scope. Opp. at 1. However, the Andrews Report is not so broad in scope. Dr. Andrews opines

                                   2   only on “some of Qualcomm’s fundamental patents” in technology areas in which Dr. Andrews

                                   3   has a “particular focus.” Andrews Report ¶¶ 3, 8. The FTC appears to argue that because “this

                                   4   case concerns whether Qualcomm’s cellular SEP licensing practices lead to elevated royalties at

                                   5   the portfolio level,” the Akl Rebuttal Report can address any topic under that umbrella. Opp. at 7.

                                   6   However, a rebuttal expert does not receive carte blanche to address the broad subject matter of

                                   7   the case, but rather to “contradict or rebut evidence on the same subject matter” as the other

                                   8   party’s expert report. In re High-Tech., 2014 WL 1351040, at *13 (quoting Fed. R. Civ. P.

                                   9   26(a)(2)(D)(ii)); see also FTC v. Innovative Designs, Inc., 2018 WL 3611510, at *3 (W.D. Pa.

                                  10   July 27, 2018) (“[E]xpert reports that simply address the same general subject matter as a

                                  11   previously-submitted report, but do not directly contradict or rebut the actual contents of that prior

                                  12   report, do not qualify as proper rebuttal or reply reports.”).
Northern District of California
 United States District Court




                                  13          The FTC contends that Paragraphs 72–86 contradict Dr. Andrews’s opinion that

                                  14   “Qualcomm possesses a wide-ranging portfolio in a broad range of subject areas,” Andrews

                                  15   Report ¶ 7, and aim to “avoid the misimpression that Qualcomm was uniquely responsible for the

                                  16   development of all major cellular standards.” Opp. at 8. However, the opinions expressed in

                                  17   Paragraphs 72–86 (third parties possess certain important SEPs) and in the Andrews Report

                                  18   (Qualcomm possesses important SEPs in other technology areas) do not contradict each other, as

                                  19   both opinions could simultaneously be true.

                                  20          Examples of proper rebuttal further demonstrate how Paragraphs 72–86 are outside the

                                  21   bounds of Rule 26. In In re High-Tech, this Court denied a motion to strike a rebuttal report in

                                  22   which an expert, in response to criticism, “explain[ed] in detail greater than his opening report the

                                  23   statistical significance” of a particular variable. 2014 WL 1351040, at *13. Similarly, in Matthew

                                  24   Enterprises, the district court denied a motion to strike a rebuttal report that applied a “prior

                                  25   methodology to smaller sample sizes.” 2016 WL 4272430, at *6. Finally, in Ericsson, the district

                                  26   court denied a motion to strike rebuttal material in which the original expert reached “one

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                                  28   Case No. 17-CV-00220-LHK
                                       ORDER GRANTING QUALCOMM’S MOTION TO STRIKE PARAGRAPHS 72–86 OF AKL REBUTTAL
                                       EXPERT REPORT
                                          Case 5:17-cv-00220-LHK Document 979 Filed 12/11/18 Page 8 of 9




                                   1   conclusion about the value of certain patents based on one methodology” and the rebuttal expert

                                   2   “arrive[d] at a different conclusion on the basis of his alternate methodology of valuing patents.”

                                   3   2016 WL 7042085, at *6. By contrast, the alleged conclusion in the Andrews Report that

                                   4   Paragraphs 72–86 seek to rebut—“the misimpression that Qualcomm was uniquely responsible for

                                   5   the development of all major cellular standards technology,” Opp. at 8—is not in fact in the

                                   6   Andrews Report. To the extent the FTC wishes to contest an expansive framing of Dr. Andrews’s

                                   7   conclusions, the FTC has developed deposition testimony that Dr. Andrews is “not offering an

                                   8   opinion . . . as to the value of Qualcomm’s patents relative to patents held by others,” “not offering

                                   9   an opinion as to a reasonable royalty for Qualcomm’s patent portfolio as a whole,” and “not

                                  10   offering opinions on patents that aren’t in [his] report.” ECF No. 797-7 at 34:8–13, 36:1–6; ECF

                                  11   No. 866-2, Ex. 3 at 74:21–23. Dr. Andrews also testified in his expert report that his opinion

                                  12   concerns only “some of Qualcomm’s fundamental patents” in technology areas in which Dr.
Northern District of California
 United States District Court




                                  13   Andrews has a “particular focus.” Andrews Report ¶¶ 3, 8.

                                  14           Second, the FTC contends that the Andrews Report discusses SEPs in two of the

                                  15   technology areas that Dr. Akl addresses in Paragraphs 72–86. However, the Andrews Report

                                  16   references Discontinuous Reception and Semi-Persistent Scheduling in the context of Dr.

                                  17   Andrews’s background on the “history of cellular.” Andrews Report ¶¶ 62–66. Nowhere does Dr.

                                  18   Andrews address any Qualcomm SEPs (or third-party SEPs) related to those two technologies.

                                  19   Instead, Dr. Andrews states that those two technologies help improve a different feature that

                                  20   Qualcomm introduced, not that Qualcomm created or even contributed to those two technologies.

                                  21   Id. ¶ 62.

                                  22           Under Rule 37, striking the challenged Paragraphs is required. Yeti by Molly, 259 F.3d at

                                  23   1106 (explaining that Rule 37 is a “self-executing” and “automatic” sanction). The FTC offers no

                                  24   argument that its failure to disclose Dr. Akl’s improper rebuttal testimony “is substantially

                                  25   justified or harmless.” Goodman v. Staples The Office Superstore, LLC, 644 F.3d 817, 827 (9th

                                  26   Cir. 2011). Therefore, the Court grants Qualcomm’s motion to strike Paragraphs 72–86 of the Akl

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                                  28   Case No. 17-CV-00220-LHK
                                       ORDER GRANTING QUALCOMM’S MOTION TO STRIKE PARAGRAPHS 72–86 OF AKL REBUTTAL
                                       EXPERT REPORT
                                          Case 5:17-cv-00220-LHK Document 979 Filed 12/11/18 Page 9 of 9




                                   1   Rebuttal Report. At trial, Dr. Akl may not testify about the opinions therein, although he may

                                   2   testify about the opinions in the remainder of the Akl Rebuttal Report and in the Akl Opening

                                   3   Report. However, if Dr. Andrews testifies outside the stated scope of the Andrews Report, the

                                   4   Court may reconsider whether Dr. Akl’s opinions in Paragraphs 72–86 are proper rebuttal

                                   5   testimony.

                                   6   III.   CONCLUSION
                                   7          For the foregoing reasons, the Court GRANTS Qualcomm’s motion to strike paragraphs

                                   8   72–86 of the Akl Rebuttal Report.

                                   9   IT IS SO ORDERED.

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                                  11   Dated: December 11, 2018

                                  12                                                  ______________________________________
Northern District of California
 United States District Court




                                                                                      LUCY H. KOH
                                  13                                                  United States District Judge
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                                  28   Case No. 17-CV-00220-LHK
                                       ORDER GRANTING QUALCOMM’S MOTION TO STRIKE PARAGRAPHS 72–86 OF AKL REBUTTAL
                                       EXPERT REPORT
